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                           ZACHARY MCFARLAND (in his individual and
                      12   official capacities), STEPHANIE LACK (in her
                           individual and official capacities), and CITY OF
                      13   PASADENA
                      14                                 UNITED STATES DISTRICT COURT
                      15                                CENTRAL DISTRICT OF CALIFORNIA
                      16
                      17   JEFFREY TOLAND,                             Case No. 2:21-cv-04797-AB-AGR
                      18                           Plaintiff,          REQUEST FOR JUDICIAL
                                                                       NOTICE IN SUPPORT OF
                      19   v.                                          MOTION TO DISMISS
                                                                       PLAINTIFF’S FIRST AMENDED
                      20   ZACHARY MCFARLAND, in his                   COMPLAINT BY DEFENDANT
                           individual and official capacity;           CITY OF PASADENA PURSUANT
                      21   STEPHANIE LACK, in her individual           TO F.R.C.P. RULE 12(b)(6)
                           and official capacity; CITY OF
                      22   PASADENA; and DOES 1-10,                    [Motion to Dismiss, Proposed Order.
                           inclusive,                                  Declaration of Nathan A. Oyster filed
                      23                                               concurrently herewith]
                                                   Defendant.
                      24                                               Date:     November 19, 2021
                                                                       Time:     10:00 a.m.
                      25                                               Ctrm.:    7B
                      26                                               District Judge Andre Birotte, Jr.
                      27   TO THIS HONORABLE COURT, AND TO ALL PARTIES HEREIN:
                      28
B URKE , W ILLI AM S &                                                                        2:21-CV-04797-AB-AGR
   S ORENS EN , LLP
  ATTO RNEY S AT LAW
                           LA #4825-4871-5775 v1                     -1-          REQUEST FOR JUDICIAL NOTICE ISO
     LOS A NG EL ES                                                                  CITY’S MOTION TO DISMISS FAC
             Case 2:21-cv-04797-FWS-AGR Document 36 Filed 10/18/21 Page 2 of 19 Page ID #:326



                       1            Defendant CITY OF PASADENA (hereinafter “Defendant” or “the City” )
                       2   hereby request that the Court take judicial notice of the attached exhibit pursuant to
                       3   Federal Rules of Evidence 201in support of their Motion to Dismiss Plaintiff’s First
                       4   Amended Complaint. Matters that are properly the subject of judicial notice under
                       5   Federal Rules of Evidence, Rule 201, may be considered along with the complaint
                       6   when ruling upon a motion. MGIC Indemnity Corp. v. Weisman, 803 F2d. 500, 504
                       7   (9th Cir. 1986) –Court may take judicial notice of official records and reports
                       8   without converting Rule 12(b)(6) motion into Rule 56 motion for summary
                       9   judgment.
                      10            Under Federal Rules of Evidence 201, a federal court may take judicial
                      11   notice of facts that are “capable of accurate and ready determination by resort to
                      12   sources whose accuracy cannot reasonably be questioned.” Fed. R. Evid. 201.
                      13   Judicial notice of such facts is mandatory when requested by a party who has
                      14   supplied the information to the court. Id., Rule 201(d). Facts that may be judicially
                      15   noticed include a court’s own records in other cases. United States v. Wilson, 631
                      16   F.2d 118, 119-120 (9th Cir. 1980).
                      17            The City respectfully request the Court take judicial notice of the following
                      18   items:
                      19            Exhibit B: September 23, 2019 Public Records Act request from Caleb
                      20                           Mason (hereinafter “the PRA request” ) to the City of Pasadena,
                      21                           seeking records relating to Officer McFarland and Officer Lack.
                      22            Exhibit C: October 7, 2019 Public Records Act response from the City of
                      23                           Pasadena to Caleb Mason (hereinafter “the PRA response” ).
                      24   ///
                      25   ///
                      26   ///
                      27   ///
                      28   ///
B URKE , W ILLI AM S &                                                                          2:21-CV-04797-AB-AGR
   S ORENS EN , LLP
  ATTO RNEY S AT LAW
                           LA #4825-4871-5775 v1                       -2-          REQUEST FOR JUDICIAL NOTICE ISO
     LOS A NG EL ES                                                                    CITY’S MOTION TO DISMISS FAC
             Case 2:21-cv-04797-FWS-AGR Document 36 Filed 10/18/21 Page 3 of 19 Page ID #:327



                       1            Exhibit D: Los Angeles District Attorney’s Office “Protocol for District
                       2                           Attorney Officer-Involved Shooting Response Program For
                       3                           Officer/Deputy-Involved Shootings and In-Custody Deaths” ,
                       4                           which is located on the Los Angeles District Attorney’s Office
                       5                           website at
                       6                           https://da.lacounty.gov/sites/default/files/policies/JSID%20DAR
                       7                           T%20Protocol%202014.pdf.
                       8   Dated: October 18, 2021                     BURKE, WILLIAMS & SORENSEN, LLP
                       9
                      10                                               By: /s/ Nathan A. Oyster
                                                                           Nathan A. Oyster
                      11                                                   Stephanie A. Quartararo
                      12                                               Attorneys for Defendants
                                                                       ZACHARY MCFARLAND, STEPHANIE
                      13                                               LACK, and CITY OF PASADENA
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B URKE , W ILLI AM S &                                                                          2:21-CV-04797-AB-AGR
   S ORENS EN , LLP
  ATTO RNEY S AT LAW
                           LA #4825-4871-5775 v1                       -3-          REQUEST FOR JUDICIAL NOTICE ISO
     LOS A NG EL ES                                                                    CITY’S MOTION TO DISMISS FAC
Case 2:21-cv-04797-FWS-AGR Document 36 Filed 10/18/21 Page 4 of 19 Page ID #:328




                            EXHIBIT B
  Case 2:21-cv-04797-FWS-AGR Document 36 Filed 10/18/21 Page 5 of 19 Page ID #:329


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                                             September 23, 2019

     VIA U.S. MAIL

     Pasadena Police Department
     Attn: Records Administrator
     207 North Garfield Avenue
     Pasadena, CA 91101

            Re: Public Records Act Request Re. Officer Zachary McFarland, Badge No. 5595, and
                Officer S. Lack, Badge No. 5202
     To Whom It May Concern:

             Pursuant to the California Public Records Act, Government Code § 6250, et seq., and
     Penal Code § 832.7, I request copies of the documents set forth below. These documents are,
     as of January 1, 2019, public records subject to production under the Public Records Act.
                                          Authority for Request
     Penal Code Section 832.7(b)(1) expressly mandates disclosure of certain materials as follows:
                     Notwithstanding subdivision (a), subdivision (f) of Section 6254 of the
                     Government Code, or any other law, the following peace officer or custodial
                     officer personnel records and records maintained by any state or local agency
                     shall not be confidential and shall be made available for public inspection
                     pursuant to the California Public Records Act (Chapter 3.5 (commencing with
                     Section 6250) of Division 7 of Title 1 of the Government Code):
                     (A) A record relating to the report, investigation, or findings of any of the
                     following:
                     (i) An incident involving the discharge of a firearm at a person by a peace
                     officer or custodial officer.
                     (ii) An incident in which the use of force by a peace officer or custodial officer
                     against a person resulted in death, or in great bodily injury.
                     (B) (i) Any record relating to an incident in which a sustained finding was made
                     by any law enforcement agency or oversight agency that a peace officer or
                     custodial officer engaged in sexual assault involving a member of the public.
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               (ii) As used in this subparagraph, “sexual assault” means the commission or
               attempted initiation of a sexual act with a member of the public by means of
               force, threat, coercion, extortion, offer of leniency or other official favor, or
               under the color of authority. For purposes of this definition, the propositioning
               for or commission of any sexual act while on duty is considered a sexual
               assault.
                 (iii) As used in this subparagraph, “member of the public” means any person not
                 employed by the officer’s employing agency and includes any participant in a
                 cadet, explorer, or other youth program affiliated with the agency.
                 (C) Any record relating to an incident in which a sustained finding was made
                 by any law enforcement agency or oversight agency of dishonesty by a peace
                 officer or custodial officer directly relating to the reporting, investigation, or
                 prosecution of a crime, or directly relating to the reporting of, or investigation of
                 misconduct by, another peace officer or custodial officer, including, but not
                 limited to, any sustained finding of perjury, false statements, filing false reports,
                 destruction, falsifying, or concealing of evidence.
                 (2) Records that shall be released pursuant to this subdivision include all
                 investigative reports; photographic, audio, and video evidence; transcripts or
                 recordings of interviews; autopsy reports; all materials compiled and presented
                 for review to the district attorney or to any person or body charged with
                 determining whether to file criminal charges against an officer in connection
                 with an incident, or whether the officer’s action was consistent with law and
                 agency policy for purposes of discipline or administrative action, or what
                 discipline to impose or corrective action to take; documents setting forth
                 findings or recommended findings; and copies of disciplinary records relating to
                 the incident, including any letters of intent to impose discipline, any documents
                 reflecting modifications of discipline due to the Skelly or grievance process, and
                 letters indicating final imposition of discipline or other documentation reflecting
                 implementation of corrective action.
          The information set forth above is not exempt from disclosure and must be produced
   upon request. I am informed and believe that the Sheriff’s Department databases are readily
   searchable by officer identity, and thus that the information I have requested is readily
   obtainable.
                                         Scope of Request
          Accordingly, I request all records relating to Officer Zachary McFarland, Badge No.
   5595 (“Officer McFarland”) and Officer S. Lack, Badge No. 5205 (“Officer Lack”) of the
   Pasadena Police Department, within the following categories:
              " All records relating to any incident involving the discharge of a firearm at a
                person by Officer McFarland Officer Lack;

              " All records relating to any incident involving the use of force against a person
                by Officer McFarland or Officer Lack which resulted in great bodily injury or
                death;

              " All records relating to any incident in which a sustained finding was made by
                any law enforcement agency or oversight agency that Officer McFarland or
                Officer Lack engaged in sexual assault involving a member of the public;

                                                   2
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            " All records relating to any incident in which a sustained finding was made by
               any law enforcement agency or oversight agency of dishonesty by a peace
               officer or custodial officer directly relating to the reporting, investigation, or
               prosecution of a crime, or directly relating to the reporting of, or investigation of
               misconduct by, another peace officer or custodial officer, including, but not
               limited to, any sustained finding of perjury, false statements, filing false reports,
               destruction, falsifying, or concealing of evidence.

   I request that you include in your production all records and document types specified by
   Section 832.7(b)(C)(2), including:
              " investigative reports;
              " photographic, audio, and video evidence;
              " transcripts or recordings of interviews;
              " autopsy reports;
              " all materials compiled and presented for review to the district attorney or to any
                person or body charged with determining whether to file criminal charges
                against an officer in connection with an incident, or whether the officer’s action
                was consistent with law and agency policy for purposes of discipline or
                administrative action, or what discipline to impose or corrective action to take;
              " documents setting forth findings or recommended findings; and
              " copies of disciplinary records relating to the incident, including any letters of
                intent to impose discipline, any documents reflecting modifications of discipline
                due to the Skelly or grievance process, and letters indicating final imposition of
                discipline or other documentation reflecting implementation of corrective
                action.


                                         Time for Production
   Government Code §§ 6253(c) and (d) require that the agency provide prompt notice of its
   determination:
                 (c) Each agency, upon a request for a copy of records, shall, within 10 days
                 from receipt of the request, determine whether the request, in whole or in part,
                 seeks copies of disclosable public records in the possession of the agency and
                 shall promptly notify the person making the request of the determination and
                 the reasons therefor.
                 In unusual circumstances, the time limit prescribed in this section may be
                 extended by written notice by the head of the agency or his or her designee to
                 the person making the request, setting forth the reasons for the extension and the
                 date on which a determination is expected to be dispatched. No notice shall
                 specify a date that would result in an extension for more than 14 days.
                 When the agency dispatches the determination, and if the agency determines
                 that the request seeks disclosable public records, the agency shall state the
                 estimated date and time when the records will be made available.
                 As used in this section, “unusual circumstances” means the following, but only
                 to the extent reasonably necessary to the proper processing of the particular
                 request:
                                                   3
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               (1) The need to search for and coll
                                                 llect the requested records from field facilities
               or other establishments that are separate from the office processing the request.
                  (2) The need to search for, collect, and appropriately examine a voluminous
                  amount of separate and distinct records that are demanded in a single request.
                  (3) The need for consultation, which shall be conducted with all practicable
                  speed, with another agency having substantial interest in the determination of
                  the request or among two or more components of the agency having substa   tantial
                  subject matter interest therein.
                  (4) The need to compile data, to write programming language or a computer
                  program, or to construct a computer report to extract data.
                  (d) Nothing in this chapter shall be construed to permit an agency to delay
                  or obst
                       struct the inspection or copying of public records. The notification of
                  denial of any request for records required by Section 6255 shall set forth the
                  names and titles or positions of each person responsible for the denial.
           To the extent you intend to withhohold any qualifying record, or portions thereof, please
   provide a signed notification citing the legal authorities on which you rely. To the extent you
   are able to redact portions, please produce the remainder of the record with the redacted
   portions and in
                 include a signed notification citing the legal authority allowing such redaction.
           I am informed and believe I have provided sufficient identifying information to locate
   these records, which are subject to public disclosure by law. While I would prefer to avoid
   seeking court intervention to obtain these records, I am prepared to do so if necessary. Thank
   you for your time and attention to this matter, and please feel free to contact me with any
   questions.


                                                     Sincerely,




                                                     Caleb E. Mason
                                                                 on

                                                     Werksman Jackson & Quinn LLP
                                                     cmason@werksmanjackson.com
                                                     213-688-0460




                                                    4
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                            EXHIBIT C
  Case 2:21-cv-04797-FWS-AGR Document 36 Filed 10/18/21 Page 11 of 19 Page ID #:335



                                           pOLICE




JOHN E. PEREZ
                                                                                    207 N. GARFIELD AVENUE
                                                                                       PASADENA, CA 9 1 101
CHIEF OF POLICE
                                                                                             (626) 744-4501



           October 7, 2019



           Caleb E. Mason
           Werksman Jackson & Quinn LLP
           888 West Sixth Street, 4th Floor
           Los Angeles, CA 90017

           Mr. Mason:

           We ae in receipt of your September 23, 2019 request for information on Officer Zachary
           McFarland and Officer Stephanie Lack.

           Please be advised that the Pasadena Police Department has no records that are responsive to
           your request.

           Sincerely,

           JOHN E. PEREZ
           Chief of Police



           ALICIA PATTERSON, Administrator
           Strategic Services Division

           JEP:AP:
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                            EXHIBIT D
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